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 1                       UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA

 3

 4 CUNG LE, et al.,                    )
                                       )
 5                  Plaintiffs,        )     Case No. 2:15-cv-01045-RFB-PAL
                                       )
 6          vs.                        )     Las Vegas, Nevada
                                       )     February 23, 2016
 7 ZUFFA, LLC, d/b/a Ultimate          )
   Fighting Championship and           )
 8 UFC,                                )     STATUS CONFERENCE
                                       )
 9                  Defendants.

10

11

12

13                           TRANSCRIPT OF PROCEEDINGS

14                       THE HONORABLE PEGGY A. LEEN,
                        UNITED STATES MAGISTRATE JUDGE
15

16

17

18

19 APPEARANCES:                 See Next Page

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 1      LAS VEGAS, NEVADA; TUESDAY, FEBRUARY 23, 2016; 1:45:44 P.M.

 2                                    --oOo--

 3                             P R O C E E D I N G S

 4            THE COURT:      Good afternoon.     Please be seated.

 5            COURTROOM ADMINISTRATOR:        Your Honor, we are now

 6 calling the status conference in the matter of Le versus Zuffa,

 7 LLC.    The Case Number is 2:15-cv-1045-RFB-PAL.

 8            Beginning with plaintiff's counsel, counsel please

 9 state your names for the record.

10            MR. DELL'ANGELO:      Michael Dell'Angelo from the law firm

11 of Berger & Montague on behalf of plaintiffs.

12            MR. MADDEN:      Patrick Madden from Berger & Montague on

13 behalf of plaintiffs.

14            MR. SPRINGMEYER:      Ronald Springmeyer from Wolf Rifkin

15 for plaintiffs.

16            MR. WEILER:      Matthew Weiler with The Joseph Saveri Law

17 Firm for plaintiffs.

18            MR. ELWELL:      Jerome Elwell of Warner Angle for the

19 plaintiffs.

20            MR. COVE:      Good afternoon, Your Honor.         John Cove on

21 behalf of Zuffa, LLC.

22            MS. LYNCH:      Good afternoon.     Marcy Lynch from Boies

23 Schiller & Flexner on behalf of Zuffa, LLC.                And with us we also

24 have Helen Moure, who is our search term consultant.

25            MR. WILLIAMS:      Good afternoon, Your Honor.           Colby


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 1 Williams, Campbell and Williams, on behalf of Zuffa.

 2            MR. COVE:      And, Your Honor, also with us is Tim

 3 Bellamy, who is the Assistant General Counsel of Zuffa.

 4            THE COURT:      Well, good afternoon and welcome.           We are

 5 here on our monthly status and dispute resolution conferences.

 6 I have read your joint status reports and the voluminous

 7 attachments and declarations.

 8            Let me just say, first of all, I am heartened by the

 9 progress that the parties have made by involving their

10 consultants in direct discussions.          It is clear that both

11 consultants for both sides are eminently qualified to do what

12 they do and are very well respected nationwide.               Their

13 affidavits were both thoughtful and helpful to the Court in

14 having a better appreciation of what the parties' agreements and

15 disputes are about with respect to this process.

16            And let me start by asking counsel for the plaintiffs

17 to bring me up to date.        I know that it may sound like an

18 eternity for the people engaged in the process, but it appears

19 that the consultants have been dealing directly through counsel

20 in the discussions about the negotiation of key word searches

21 since February 4th.        And today is the 23rd.          So a lot has been

22 accomplished, although I appreciate people feel like it's a

23 matter of diminishing returns at this point.

24            So Mr. Dell'Angelo?

25            MR. DELL'ANGELO:      Thank you, Your Honor.          And I should


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 1 add with us is Mr. Chuck Kellner.          He's the vice president at

 2 D4, who is our search term consultant.            He is in the courtroom.

 3 I think he has identified himself.

 4            Well, Your Honor, it is correct that a lot has

 5 happened, and the parties have had a number of telephonic meet

 6 and confers regarding the search term process.              And through that

 7 process, Zuffa has continued to make revisions to its proposed

 8 search terms and plaintiffs have done so as well.               And the basis

 9 on which we've done that is we have taken those proposals, asked

10 Zuffa to have its vendor run those various search term proposals

11 against the data set of approximately 1.4 million documents.

12 That returns certain data points such as direct hits, direct

13 hits with family, and unique hits which we've explained and I

14 think that the Court is familiar with, but I'm happy to provide

15 more detail as it applies here if the Court wishes, but -- and

16 so what we've done with those results is examined them and

17 examined some limited samples that we've been provided with and

18 continued to communicate and make inquiries about the data set

19 itself.

20            For the plaintiffs' part what I can tell you about some

21 of the progress that we've made and where there is, I think, the

22 possibility for additional progress is we've approached the

23 process by trying to determine really getting to the fundamental

24 question that I think we presented to you last time, which is

25 trying to evaluate whether or not this data set is susceptible


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 1 reliably to the application of search terms, and if so, how and

 2 whether that process is to devise search terms to reduce the set

 3 by finding relevant documents or to reduce the set to weed out

 4 nonresponsive documents.

 5            And largely by --

 6            THE COURT:      Your preference is for manual review, is to

 7 weed out nonresponsive, and for manual review of the remainder,

 8 if I am getting your drift correctly from your papers.

 9            MR. DELL'ANGELO:      So what we think makes sense, Your

10 Honor, is because of the resistance of the document set to the

11 application of search terms to affirmatively remove or isolate

12 responsive documents, we think that actually a lot of efficiency

13 can be achieved by testing the results, looking at the file

14 types, the types of documents that are returned, the content of

15 those documents, examining them, trying to isolate nonresponsive

16 documents, and removing them from the set.

17            Without kind of getting into the weeds, just to give

18 you an example, one of the proposals that we hit on in looking

19 at the sample was whether or not documents, that is e-mail

20 messages in particular, that contain the term "unsubscribe"

21 could be isolated and removed on the theory that an e-mail that

22 contains the word "unsubscribe," particularly if you look at the

23 set of domains that they're associated with, are likely kind of

24 marketing, general e-mails that are not likely to be -- contain

25 responsive material.


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 1             And in doing that we hit on at what we understand from

 2 the analysis that we were provided something like 59,000 e-mails

 3 that could just be excluded from the set altogether.

 4             And so to that end, we have identified and proposed a

 5 number of ways to reduce this set, which, frankly, I think as we

 6 discussed last time, even at the outside of 2 million documents

 7 that include the central files that have been identified in the

 8 JSR, if all of those were produced in a case of this magnitude

 9 where there are hundreds of millions of dollars at stake, the

10 documents wouldn't actually be that large.              But we're not asking

11 for that.     We don't think that's an efficient approach for

12 either party.

13             But what we do think makes sense is to find ways

14 through this process to winnow down that set to focus out all

15 the --

16             THE COURT:     Right.     You want to winnow down and claw

17 back?

18             MR. DELL'ANGELO:        Well, to the extent that Zuffa wants

19 to do a responsiveness review after the winnowing down, of

20 course.     There's a fairly robust procedure for privilege, but

21 one of the other things that, you know, the Court has directed

22 the parties to do and we've been working on with respect to the

23 legal custodians is to find ways to isolate --

24             THE COURT:     And that's really not all that tough.           You

25 folks have done that before.


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 1             MR. DELL'ANGELO:      Right.

 2             THE COURT:     And it seems to me that you have pretty

 3 much congruence on that issue --

 4             MR. DELL'ANGELO:      That's right.

 5             THE COURT:     -- about how to do that effectively,

 6 efficiently, and that make sense for both sides.

 7             MR. DELL'ANGELO:      Absolutely agree.          And I think it's

 8 an easy, cheap, fast way to weed out documents because it really

 9 balances two things.        I understand and respect the fact that the

10 defendant doesn't want to review nonresponsive documents because

11 it takes time and it costs money, but it also slows down the

12 process from the receiving party's side as well.                 And certainly

13 you don't want to be on the other side --

14             THE COURT:     So how do you propose to review whatever it

15 is that you get?

16             MR. DELL'ANGELO:      That the plaintiffs will review?

17             THE COURT:     Yes.

18             MR. DELL'ANGELO:      So we would do it in the way that we

19 would typically do it in this case and, frankly, as we've been

20 doing with the FTC production.            So we would load it to a

21 platform.     We would sort the data based on criteria that --

22             THE COURT:     This is your work product.

23             MR. DELL'ANGELO:      Right.     Based on our work product

24 allocated to reviewers that fit within again a work product

25 formula for issues and those sorts of things, conduct a review,


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 1 and code it accordingly.        But, you know, all of those documents

 2 end up being on a platform --

 3             THE COURT:     So you would rather undergo the time and

 4 effort of reviewing a larger universe of possibly nonresponsive

 5 documents to assure you got more than get a more targeted --

 6 because most people -- not most people.            A lot of people object

 7 to what they call document dumps.          Here, give me the universe

 8 and then it's a go fish type of thing.

 9             MR. DELL'ANGELO:     Right.

10             THE COURT:     But you would rather get a larger universe

11 of documents and have the responsibility for culling those for

12 relevant helpful documents to your side's case than you would

13 having them spend the effort to cull down the universe?

14             MR. DELL'ANGELO:     The short answer is yes, Your Honor,

15 but I think there's some important things to consider with

16 respect to that.      What -- what we're proposing to do and what we

17 think can be done, and the unsubscribed proposal, for example,

18 is a good example of that, is that --

19             THE COURT:     59,000 down, 1.3 something to go.

20             MR. DELL'ANGELO:     Right.    But there are lots of things

21 you can do when you look at file types, when you look at

22 associations and domains and, you know, the privilege and

23 whatever.     There are lots of ways to winnow down that set so

24 that what you are doing is, you know, you're throwing out the

25 bath water, if you will, without throwing out the baby rather


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  1 than the opposite which is the concern.

  2             And I agree with you normally, yes, you may be

  3 concerned about a document dump, but we have a unique

  4 opportunity in this case that we've spent a lot of time working

  5 with is we have some very limited examples from the actual set.

  6 But as the Court recognized last time, we have a relevant set of

  7 documents from the FTC production that tell us a lot about how

  8 amenable the document set is likely to be to the type of, kind

  9 of, what I would call direct filtering where you're trying to

 10 isolate responsive documents.

 11             And one of the reasons we approached this the way we

 12 did is because we spent a lot of time testing the FTC production

 13 and developing search terms and thinking about --

 14             THE COURT:    So what was the FTC protocol that produced

 15 that set?

 16             MR. DELL'ANGELO:     How did we -- oh.

 17             THE COURT:    No.   What was the FTC protocol that

 18 produced that set?

 19             MR. DELL'ANGELO:     So I do not know that answer.             We

 20 have --

 21             THE COURT:    Well, one of the things your expert

 22 addresses in his affidavit is, for example, the example of the

 23 financial institution that has idiomatic language.

 24             MR. DELL'ANGELO:     Right.

 25             THE COURT:    That is difficult to capture.


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  1            MR. DELL'ANGELO:      Correct.

  2            THE COURT:     And the repetitive theme of your expert's

  3 affidavit is that the defendant's proposals for key search terms

  4 are directed and targeted to contract-type documents where the

  5 plaintiffs are really interested in behavioral-type documents.

  6            MR. DELL'ANGELO:      That's correct.           And what I would

  7 say, Your Honor, is it's really, as we see the search term

  8 proposal from -- that the defendants have constructed, is it's

  9 really an attempt to get at the language of contract and not at

 10 the language of the conversation.

 11            THE COURT:     I understand that.

 12            MR. DELL'ANGELO:      Yeah.

 13            THE COURT:     And so -- but you did get some really good

 14 stuff from the FTC documents from your point of view?

 15            MR. DELL'ANGELO:      Yes, we did.

 16            THE COURT:     Correct.      And so it would seem that you

 17 would be able to learn from whatever it was because your expert

 18 refers to, I'll never remember the details of the exact

 19 criteria, criteria that were developed by regulatory agencies

 20 precisely to address that behavioral aspect and idiomatic

 21 language in order to obtain documents using -- and people have

 22 crossed over this bridge before.

 23            MR. DELL'ANGELO:      Yes.

 24            THE COURT:     And so there are ways of doing this.

 25            MR. DELL'ANGELO:      Yes.


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  1             THE COURT:    And one of the points that you keep making

  2 repetitively in your papers is that, Well, the defendants are

  3 the sole custodians.       They have sole control.        They know exactly

  4 what's in their own documents, and you of course don't.                   On the

  5 other hand, you have access to your clients who are members of

  6 the organization --

  7             MR. DELL'ANGELO:     Correct.

  8             THE COURT:    -- who knew what the language is, who know

  9 what the lingo is, who are able to educate you on the types of

 10 information that they are aware of or the types of terms that

 11 are used in the industry in which they are involved.               So it's

 12 not exactly like you're operating in a blind.

 13             MR. DELL'ANGELO:     And that's correct.        I think I -- we

 14 made clear both in our oral presentation and in the JSR last

 15 time which we referred to in the JSR this time, that is the

 16 joint status report, that that is -- that is how we went about

 17 developing the terms that we did.           So when you look at a term

 18 like "hold," you know, it's not something that we pulled out of

 19 thin air.     It's something that we pulled out of a document that

 20 we found in the FTC production and we said, We see, this is

 21 how...

 22             THE COURT:    But you're afraid you are not going to get

 23 the behavioral-type documents from the terms that the parties

 24 have been exchanging.

 25             MR. DELL'ANGELO:     I think we know that we're not going


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  1 to get them.     What we have been doing is going through the

  2 samples that we have been provided and through the FTC

  3 production --

  4             THE COURT:    And what's the update on that?           Because

  5 there was originally a term for 500 samples for each term and

  6 then the proposal in return was --

  7             MR. DELL'ANGELO:     Right.

  8             THE COURT:    -- 200 random samples for categories.

  9             MR. DELL'ANGELO:     Right.    So in the interest of time,

 10 rather than trying to continue to negotiate a sample, we thought

 11 that the proposed sample of 200 documents is not really

 12 statistically reliable, but in the interest of getting something

 13 done, we essentially accepted that proposal and moved on.

 14             So late Sunday night we received an FTP link with the

 15 sample that we had agreed on with the defendant and that sample

 16 consisted of 200 documents that hit on the plaintiffs' terms,

 17 but not on defendant's terms for four terms, one from each

 18 category:     a fighter, a sponsor, a merchandiser, and a venue.

 19 And we had some technical issues accessing that on Monday

 20 morning that we worked with the defendant's counsel to resolve,

 21 and we did.    And we've been trying to move through those as

 22 quickly as possible.

 23             And there's some interesting insights to be gleaned

 24 from those.    I mean, there -- it raises some questions about,

 25 you know, the -- some of the technical issues about


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  1 de-duplication and some of the things that are actually in the

  2 production that maybe shouldn't be there in the first place that

  3 may be making the number of total documents larger than it needs

  4 to be, but it also identified some responsive documents that are

  5 resistant to the construction -- sort of the contractual

  6 non-conversational construction of terms that Zuffa's proposal

  7 contemplates.

  8             So the limited sample, though it may be, it has been

  9 productive, you know, thus far.          And I have some of those

 10 examples that we can share with you, if the Court wishes.

 11             THE COURT:    Well, what I'm trying to find out is what

 12 you're learning and if you're able from what you're learning to

 13 refine the process because both of the experts recognize that

 14 this isn't a perfect process.        There's no such thing as a

 15 development of a perfect search word protocol.              You -- you try

 16 and test.

 17             MR. DELL'ANGELO:     Correct.    And I agree with that

 18 sentiment wholeheartedly, and I think it's really just a

 19 question of what perspective we come at the testing and the

 20 development.

 21             THE COURT:    Well, and how long are you going to do it

 22 and at what cost?

 23             MR. DELL'ANGELO:     So I think there are a few more

 24 things that we can do.       So we have been told and we talk about

 25 in the JSR some possibilities for other ways to reduce the set.


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  1 One of them which from my perspective and I understand Mr. --

  2 and Mr. Kellner can expand on this for you, if you wish, is to

  3 use but-not searches.       For example, when the defendant says,

  4 You're -- within the results for your term are likely to be

  5 documents about a particular issue that is nonresponsive, so

  6 hotel reservations for fighters, for example.               We'd say, Yes, we

  7 agree.    Those documents are not responsive.             Neither of us

  8 should be dealing with them.        Rather than removing all of the

  9 fighter names, let's take the results, apply something like but

 10 not, you know, and some terms like hotel and plane or whatever

 11 to hit plane reservations, and take those out.

 12            I think we proposed a lot and if they -- those

 13 proposals could be applied, it would do a lot to reduce the set.

 14 There are a few more that I think that we can develop if we have

 15 a little more transparency into the vendor and kind of can move

 16 a little more quickly with the sampling process and get some

 17 more robust samples.

 18            I think you had seen in the papers that the defendant

 19 has taken the position that, you know, a lot of these efforts to

 20 reduce the set are not worth the candle, but they're not really

 21 quantified.    One of the reasons that we thought that they made

 22 sense is having done it many times myself, both with consultants

 23 and independently, is generally it's pretty cheap to apply

 24 another level of search or to isolate a set of documents and

 25 take them out than run the risk of returning them and having one


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  1 or both parties reviewing them.

  2             THE COURT:    All right.     Let me hear from opposing

  3 counsel and see from your point of view how far you've come and

  4 how far you have to go and what intervention you need from the

  5 Court at this point.

  6             MR. COVE:    Yeah.   Thank you, Your Honor.           John Cove.

  7             Let me start out by just saying what we would like and

  8 what we think makes sense and then I'll tell you why.                We think

  9 right now we have a proposal -- and just to make clear the

 10 universe of documents, there was 140 -- 1.44 million that were

 11 tested.     There are another 500,000 or so, more than 500,000 that

 12 have been added.        So the total universe we're talking about is 2

 13 million documents in the potentially searchable category,

 14 leaving aside all of the other documents we've agreed to search,

 15 you know, without search terms.

 16             The data and the statistics are based on the subset of

 17 1.4 because we didn't have, you know, the PCs loaded and

 18 de-duplicated in a way efficiently and correctly until very

 19 recently.     So all our stats in the joint status report are based

 20 on the subset.

 21             But anyways, using that as the universe, our proposal

 22 has hits on approximately 37 percent of the documents.

 23             THE COURT:    But there's nothing magic about that.

 24             MR. COVE:    No, I know that, Your Honor.         I

 25 definitely -- I agree with you.          But I think it makes sense for


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  1 us to get started on those search terms now for the Court to

  2 order us to move forward on those --

  3             THE COURT:    But I'd like you to address the issue that

  4 your search terms are expressly directed towards getting the

  5 contract issue and avoiding the behavioral-type documents that

  6 are indicative of the plaintiffs' claims.

  7             MR. COVE:    Well, I disagree with that -- their

  8 characterization of that.          I mean --

  9             THE COURT:    I'm sure you would.       That's why I'm asking

 10 about it.

 11             MR. COVE:    -- we have -- we have proposed a number of

 12 limiters because, you know, the universe of names that they are

 13 starting with is extremely broad.          It's every fighter, almost

 14 every --

 15             THE COURT:    Right.     He started off with, what, 91 terms

 16 and then they gave you 25.          And now we're at 392 and you have a

 17 proposal for an extra 100,000 documents.            And so this goes on in

 18 every negotiation.

 19             MR. COVE:    Well, yeah, but usually there's one side

 20 goes up and one side goes down.          And I don't really think

 21 they've gone down.       They've isolated --

 22             THE COURT:    That's because they don't trust the

 23 methodology that you're using to arrive at -- they don't trust

 24 you.

 25             MR. COVE:    Yeah, I understand, but there has not been


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  1 any movement in the sense of compromise.            There's been isolated

  2 things that can take off -- the unsubscribed example, which

  3 we're not completely in agreement on, we think it can be broader

  4 than what they've offered, is 60,000 documents.              And I think

  5 that's the biggest one that we have or have the potential to

  6 have right now.

  7            So...

  8            THE COURT:     But what about things like the footers and

  9 headers?    I mean, those seem to be no-brainers of ways of mass

 10 neutralizing documents from production.           There are certain

 11 things -- if your letterhead is always on a document, if your

 12 Twitter or Facebook reference is on every document that you send

 13 out of a certain category, those seem to be things that --

 14            MR. COVE:     We have investigated, and our system cannot

 15 do it as easily as you posit.        We have an outstanding proposal

 16 that deals with, you know, putting Facebook and Twitter within

 17 certain other words which I think --

 18            THE COURT:     You want proximity connectors and other

 19 limits.

 20            MR. COVE:     Yeah, I think that one is still open, if I

 21 recall correctly.

 22            But I don't think that 37 percent or the 5 -- the 37

 23 percent that we've proposed now would be the final word.                  We are

 24 still very willing to listen to other proposals and other

 25 suggestions they have based on the FTC production and based on


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  1 the samples that we've given them.

  2             But, you know, as of right now they have never

  3 suggested another limiter or subject matter limiter to go with

  4 the 1,500 fighter names, and with all of the names of all of the

  5 venues and all of the sponsors, you know, we --

  6             THE COURT:    Have you produced a list?         One of the

  7 comments that's made in Mr. Kellner's declaration is that they

  8 had to explain to you why they wanted Yahoo and -- because it

  9 was a broadcaster for you and...

 10             MR. COVE:    The other one was AOL.

 11             THE COURT:    AOL.     That's a sponsor for you.

 12             MR. COVE:    Well --

 13             THE COURT:    They shouldn't have to --

 14             MR. COVE:    Well, there are two separate things there.

 15 I don't believe that AOL was, in fact, a sponsor from our

 16 investigation.     It may have -- there may have been an

 17 advertising deal at one time.         It took investigation with the

 18 client to get somebody who even remembered what that was.                 So

 19 that --

 20             THE COURT:    You haven't --

 21             MR. COVE:    I'm sure they had a basis for concluding

 22 that it was a sponsor, but I'm not -- certainly not a major or a

 23 recent --

 24             THE COURT:    The point is that you're in exclusive

 25 control of that information.          You know who you deal with.         You


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  1 know who your vendors are.        You know who your sponsors are.          You

  2 know who your venues are.        Haven't you disclosed that

  3 information in the written discovery that's been exchanged so

  4 far?

  5            MR. COVE:      No, we haven't -- they haven't asked for it.

  6 I mean, they have, as far as I can tell, found pretty much every

  7 sponsor, including ones that, you know, may have advertised in

  8 one bout, you know, seven years ago.          I mean, all that stuff is

  9 publicly available.        They know what all of the venues are

 10 because it's all public.        And they did the work to compile a

 11 list and included everything that they could possibly consider a

 12 venue or sponsor.        And that's one of the things we suggested was

 13 how about sampling, like get -- take 100 fighters and some

 14 select number of sponsors and we'll run those searches without

 15 any limiters.

 16            You know, some of these sponsors are -- you know,

 17 there's specific allegations in the complaint about them.                 And,

 18 you know, if there's some limitation on the 2,500 names, we

 19 don't need the proximity limiters, but what they've insisted on

 20 is every name no matter how peripheral.           Whatever role AOL

 21 played, I'm sure -- as I said, I'm sure they had some basis for

 22 saying it was a sponsor, but they certainly were not a major

 23 sponsor and they weren't a sponsor for very long if they were

 24 even a sponsor or did anything more than advertise.

 25            So -- and similarly, Yahoo, it has a...


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  1             Because it is a sports broadcaster, it is an e-mail

  2 domain, it offered some MMA over the, you know, over the

  3 Internet.     It doesn't mean that they should get every document

  4 that could possibly relate to Yahoo that has the Yahoo name on

  5 it.

  6             THE COURT:    On the other hand, is there likely to be

  7 anything in there that's privileged that you wouldn't mind them

  8 seeing?     If they want to go on a frolic of their own and read

  9 every Yahoo reference, what do you care?

 10             MR. COVE:    Well, it takes time to review that stuff and

 11 it's not -- necessarily not privileged.           It would still have to

 12 be -- obviously, if it was a communication outside the company,

 13 it would likely not be --

 14             THE COURT:    No, but it's not likely to have privileged

 15 information in it.       And so if you have an irrevocable claw back

 16 and they really want to see it just because they don't trust

 17 you, once you make them do the work of filtering and screening

 18 and searching Yahoo documents that don't mean anything --

 19             MR. COVE:    Because -- because we have to look at them.

 20 And let me say a word about --

 21             THE COURT:    Well, do you?     That's my question.           If you

 22 have an irrevocable claw back and if it's not likely to have

 23 confidential or privileged material in it, why do you care if

 24 they get more than they need?

 25             MR. COVE:    Well, we don't know that it doesn't.              And


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  1 let me say a word about the privilege if I could digress for a

  2 second because we actually already have had a claw-back

  3 situation here unfortunately.

  4            THE COURT:     Everybody does.

  5            MR. COVE:     What happened was we produced the FTC

  6 production, and in order to put it in the format that was called

  7 for in this case as opposed to how it was produced last time,

  8 the vendor transformed it.        To make a long story short, it

  9 turned out that they didn't produce -- they produced certain

 10 text -- not the documents that had been withheld or clawed back

 11 from the FTC, but the underlying text files.

 12            Plaintiffs noticed this.       They alerted us to it, you

 13 know.    And we worked it out very -- you know, I want to be clear

 14 what I'm saying here.       They notified us of it --

 15            THE COURT:     They were responsible and ethical.

 16            MR. COVE:     They were responsible and ethical and worked

 17 appropriately, but now we have an issue as to the claim of

 18 privilege.    There were five documents.         They were clawed back --

 19 four of them were clawed back from the FTC without question

 20 during the FTC investigation.

 21            We've asked them, you know, Are you giving them back?

 22 And they said, Well, we need more information.              And they've

 23 asked us to provide the following information:              who drafted the

 24 documents if not clear from the document itself and some of

 25 the --


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  1            THE COURT:     The usual Rule 26 requirements.

  2            MR. COVE:     There's more than that.          And some of these,

  3 you know, were clearly drafted by outside counsel.                Subject

  4 matter of the legal representation issue, the nature of the

  5 legal representation issue, the nature of the privilege

  6 asserted, the basis for the privilege asserted, and whether the

  7 document is attached to or otherwise associated with other

  8 documents.    So if we're going to get this request -- these kinds

  9 of requests every -- you know, and the FTC just sent these back.

 10            If we're going to -- there's going to be a lot of work

 11 and potential controversy involved in any claw back, which isn't

 12 to say that they won't act ethically and appropriately as they

 13 have already, but it's -- we anticipate that any claw back is

 14 going to be -- involve lawyer work, looking all of the material

 15 up.   I mean, it's time consuming and expensive.

 16            THE COURT:     Right.   It's the balance -- sure, it's the

 17 balance between the original search, give them more than they

 18 need knowing most of it's not responsive, but they want it, and

 19 which is -- which is more time and cost effective.

 20            MR. COVE:     I think it's more cost effective to do it

 21 right the first time.       It's both more time and cost effective to

 22 do it right the first time and more --

 23            THE COURT:     Well, perhaps, if you are talking about --

 24            MR. COVE:     -- reassuring to the client and protective

 25 of the client's rights.


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  1             THE COURT:    Different issue.       Different issue.          But

  2 there would seem to me to be categories of documents that you

  3 really wouldn't have to worry about.

  4             MR. COVE:    Well, these -- what we're really talking

  5 about is e-mails among the top people about various things and

  6 contractual issues and things like that.             And there is a lot of

  7 privileged material in there and you have to be very careful.

  8 These are -- these are all e-mails, you know, what's -- you

  9 know, what are we going to do in this situation, what are we

 10 going to do in that situation.           Some -- you know, I'm not saying

 11 it's primarily privileged, but there is a great deal of

 12 privileged material in there.

 13             And those are the kind of things that they -- they have

 14 to be looked at very, very carefully because, you know, there

 15 were people in the company, custodians who perform both legal

 16 and business roles.       And we have to do a conscientious job of

 17 figuring out, you know, what was being done in a particular

 18 instance.

 19             So, you know, our proposal is not to -- that this would

 20 be the final word because we know they can come back and we know

 21 they will come back.       They're certain to come back.           And what we

 22 have to do is -- what we have to do we have to make sure is

 23 defensible, and if they raise issues with us we have to take

 24 them into consideration and think, you know, how -- is this a

 25 legitimate point and argue that you, Judge Leen, are going to


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  1 find this to be a legitimate point.

  2             THE COURT:    Did you negotiate a search protocol with

  3 the FTC for the preparation of the documents that you produced

  4 to them?

  5             MR. COVE:    We did not handle that, but my -- another

  6 firm did.

  7             THE COURT:    I asked you that question last month, so I

  8 want to know the answer.

  9             MR. COVE:    My understanding is -- I'm sorry, I didn't

 10 mean to interrupt Your Honor.

 11             THE COURT:    It's okay.

 12             MR. COVE:    My understanding is that they did not

 13 negotiate a search protocol with the FTC.            They may have used

 14 some internal search terms in looking for things, but they did

 15 not negotiate or --

 16             THE COURT:    And do you know what those internal search

 17 terms are?

 18             MR. COVE:    I don't have them right --

 19             THE COURT:    Why not?     Because they produced a set of

 20 documents that the plaintiffs think are excellently targeted for

 21 this litigation.

 22             MR. COVE:    I'm happy to try and get all of the search

 23 terms and figure that out.        I would be surprised if they did --

 24             THE COURT:    It's your client's work product.           I can't

 25 imagine that that couldn't be turned over because that's one of


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  1 the trust issues they're saying is that they're testing what

  2 you're proposing against what they got as a result of the FTC

  3 production.

  4            MR. COVE:      Right.     And one point I want to make about

  5 the FTC production is I'm not sure that we've seen things that

  6 they've come up with, documents, that are really important that

  7 are missed there.        The whole document they referred to also had

  8 the word "exclusive."        It also had --

  9            THE COURT:      No, I got that, just the fact that it

 10 doesn't have a unique hit doesn't mean that it's not going to be

 11 picked up otherwise.

 12            MR. COVE:      Yes.     And we've -- and we've tried to put

 13 proximity limiters with "hold," but in these --

 14            THE COURT:      I understand that, but the point is is that

 15 they got a document set that they have some confidence is a

 16 genuine search for relevant responsive documents.                You've

 17 already done it.       You already agreed to it with the FTC.              If we

 18 could both see what you did for the FTC, that might go a long

 19 way to increasing the confidence in getting precision, not just

 20 recall.

 21            MR. COVE:      Okay, Your Honor.      I'm glad you --

 22            THE COURT:      Do you get my drift?       I mean, do you see

 23 where I'm going?

 24            MR. COVE:      Yes, I do.

 25            THE COURT:      Because I am trying to -- adversaries are


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  1 necessarily suspicious of the other side.

  2            MR. COVE:     Yes.

  3            THE COURT:     But there are some ways of testing both

  4 sides' positions.

  5            MR. COVE:     Yes, yes.

  6            THE COURT:     Especially with respect to your burdensome

  7 and your onerousness and the degree of privilege review, it

  8 seems to me you've been through this process before, not you

  9 personally, but your side of the table has.               And so that would

 10 inform the process a great deal.

 11            MR. COVE:     I'm glad to do that, Your Honor.

 12            But, you know -- and if there's any term that is not on

 13 the FTC list, the internal list that they used, we'd be glad to

 14 add it.    I'm not --

 15            THE COURT:     Yeah, I can't imagine why not.

 16            MR. COVE:     If there is.    So we -- and I'm sure there

 17 was not any hundreds of lists of terms in that list.                And,

 18 again, it was not negotiated.        It was done internally, and it

 19 has to be recreated.

 20            THE COURT:     Correct, which means you did a pretty good

 21 job of knowing what the issues were and you're dealing with the

 22 federal government.       Were you dealing with a Holder Memo or a

 23 Thompson Memo?

 24            MR. COVE:     No, Your Honor.     The Holder Memo really only

 25 applies when the corporation has done something improper and has


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  1 to consider --

  2             THE COURT:    Or when the government suspects you have.

  3             MR. COVE:    -- whether to waive privilege or not.              Zuffa

  4 had not done anything improper so it wouldn't really apply

  5 there.     They were -- you know, the FTC was investigating and

  6 they, you know, investigated thoroughly.

  7             THE COURT:    They weren't threatening you with

  8 prosecution.

  9             MR. COVE:    No, no.    No, Your Honor.

 10             So, you know, that would be our proposal is to move

 11 forward and we can continue to meet and confer.                You know, some

 12 of the samples that were provided, if they identify things in

 13 there that we -- that we think are important or if there are

 14 particular sponsors that they -- you know.                We're not insisting

 15 on proximity limiters for every fighter and every sponsor.

 16 We're writing all the plaintiffs' names without any limiters.

 17 We're willing to talk about subsets of these things.                 But 2,500

 18 names without any limitation whatsoever --

 19             THE COURT:    You need not fear that I'm going to

 20 order --

 21             MR. COVE:    It's just too many.

 22             THE COURT:    -- every nickname and every first name and

 23 every...

 24             MR. COVE:    Right.    I mean, there are -- you know, as we

 25 were thinking about it after the -- after the joint status


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  1 report was filed, you know, there probably are a couple of

  2 nicknames where they actually are commonly referred to the

  3 fighters that way, like Rampage.         But 99.99 percent of the time

  4 the fighter has a nickname -- like, one of the plaintiffs whose

  5 name -- his nickname is Brandon "The Truth" Vera.                 All of the

  6 publicity material says Brandon "The Truth" Vera, but when

  7 they're talking about his contract or anything about him, they

  8 call him Brandon and they call him Vera.            They won't say, What

  9 are we going to offer "The Truth" today?

 10            You know, so we can work to get the right nickname.                   So

 11 we can work if they have sponsors that they're interested in and

 12 they want those reviewed, you know, without proximity limiters,

 13 I think that's a reasonable compromise.           But we're still at a

 14 point where they are at 85 percent of the corpus.                 It's

 15 extremely expensive.       And the ways that they have suggested of

 16 narrowing, while helpful, are not very helpful and are not

 17 really going to move the needle beyond, you know, maybe 85 to 82

 18 or 83 percent.     And that's, you know, the difference is well

 19 over a million dollars, which is, you know, it is still -- Zuffa

 20 is a successful company, but --

 21            THE COURT:     It's not chump chain.           I get that.

 22            MR. COVE:     It's -- it's still a small company.

 23            THE COURT:     You're the biggest show on earth, but

 24 you're a small company.

 25            MR. COVE:     We're not the biggest show on earth yet,


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  1 Your Honor.    That's the goal.

  2            And so, you know, and some of the requests that we've

  3 gotten for sampling, for example, every term that we don't agree

  4 with, run a sample of 500 documents on or --

  5            THE COURT:     No, they can pare that down to 200.               And

  6 now they say that your samples -- they're not confident that

  7 your samples were --

  8            MR. COVE:     Of course.      And, I mean, these people are

  9 very creative and they're very experienced and they're very

 10 intelligent.     And they can continue to ask questions and I'm not

 11 saying every question is not worthwhile, but some of them are

 12 extremely burdensome.       They take away from us producing the

 13 materials.     We're running searches and doing things like that.

 14 We did provide them the sample 1,500 documents.                We provided a

 15 sample of 800 documents, not 200 documents.                It was 200 times

 16 four for each of the categories.

 17            THE COURT:     For each of the categories.

 18            MR. COVE:     You know, they start out with a number that

 19 is 500 for 1,000 terms is a million documents.                It's not

 20 reasonable.    It is not a good way to start.              It is not a good

 21 way to proceed.     And that's -- you know, our feeling is that one

 22 of the problems here is there can always be burdensome requests

 23 for more information, more information.            And if we run the terms

 24 we have now and we work with them, you know, subject to them

 25 coming back and telling Your Honor that what we did was not


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  1 enough, we think that's an efficient way to proceed because, you

  2 know, we're not crazy.       We don't want to do this again in May or

  3 June.    We want to get it done and --

  4            THE COURT:     Well, and that's kind of the moral of the

  5 story is sometimes a limitation that the Court later finds was

  6 not adequate can cost you more money in the long run.

  7            MR. COVE:     That's -- and that's certainly true.             And

  8 that's a big hammer holding over our head which is an incentive

  9 for us to be reasonable.        And right now I don't see that they

 10 have any incentive to move off 85 percent, other than, you know,

 11 little 10,000 things here.

 12            You know, the -- Mr. Dell'Angelo said they proposed

 13 lots of but-not solutions and I don't really -- I may -- I may

 14 not be recalling, but I don't recall any but-not solutions that

 15 were suggested other than those that related to hold tix and

 16 home tickets.

 17            THE COURT:     Mr. Kellner's affidavit says they proposed

 18 and your consultant's expert says you proposed Boolean not

 19 exclusions.

 20            MR. COVE:     I'm just not recalling the specifics again,

 21 Your Honor.    I've been doing this for a while and I'm not -- I'm

 22 not saying they didn't do it, but I don't recall any right

 23 sitting here today.       And the trouble with, say, for not -- let's

 24 use the example of "hold."        There are 132,000 documents which

 25 have the word "hold" in them in the 1.4 million testing subset.


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  1 And with families that's 500,000 documents.

  2            THE COURT:     Let's go to the families because one of the

  3 points that is made in the affidavit of Mr. Kellner is that they

  4 don't understand why it is that when you include families you

  5 have a -- three times as many documents hit if you're truly

  6 trying to filter out and using exclusionary techniques.

  7            MR. COVE:     I would like to address that, but I think --

  8 if I could defer to Ms. Lynch on that.           This is something we

  9 have been investigating.        I think she can probably explain our

 10 most recent results better than I could, if that's okay with

 11 you, Your Honor.

 12            THE COURT:     Sure, because you keep telling me about

 13 burden because of -- because of the connectors and the family

 14 and the parent/child relationships.          And they make the point of,

 15 If you're doing it right, you shouldn't have three times as many

 16 documents on a hit with connectors.

 17            MR. COVE:     Respectfully, I think he was speculating

 18 there.    And we have examined what type of documents those

 19 documents are, and the great majority of them are Microsoft

 20 Office-type attachments such as Word, Excel.              Do you have the

 21 statistics handy?

 22            I'm going to defer to the person who knows the most.

 23            THE COURT:     I have to have my staff's help in doing

 24 rudimentary things on the computer, but I do read what you have

 25 to say.


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  1             MS. LYNCH:    Thank you, Your Honor.

  2             We believe Mr. Kellner looked at the non-hit documents

  3 that we had produced.       We initially provided them with 1,500

  4 documents that did not hit on any of the parties' search runs.

  5 And from that group, Mr. Kellner concluded that there were

  6 numerous attachments for every cover e-mail, but again those

  7 were based on the documents that did not hit on search terms as

  8 opposed to the documents that did hit on search terms.                And when

  9 we ran --

 10             THE COURT:    Well, here I'm looking at the -- Zuffa's

 11 Search Term Proposals Sorted By Hits, your Exhibit B to the

 12 status report.     And the first term on the list is exclusive,

 13 without the E, and a percentage.         And the document hit count is,

 14 I'm going to round it off, 70,000.          And the document count with

 15 families is 187,000.

 16             MS. LYNCH:    And so there are certain search terms that

 17 had more than one attachment per search term, but if you look at

 18 the overall documents, out of the 100 and -- 1.44 million, the

 19 actual search terms that hit on those documents were a little

 20 over a million.     And then it only brought in another 144,000

 21 attachments that were not search term positive.

 22             So on the whole, the vast majority of the plaintiffs'

 23 search terms hit on documents and attachments as opposed to when

 24 you look at them on a search-term-by-search-term basis.                   And so

 25 we investigated how many cover e-mails there were versus how


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  1 many attachments there were to make sure that what Mr. Kellner

  2 was addressing was not an issue with extracted images or other

  3 extracted information that were showing up as attachments.

  4            And we found that out of the 1.44 million documents

  5 from the e-mail server, 1.125 million of them were cover

  6 e-mails.    So they were MSG files.        And then there were 315,000

  7 attachments out of that set.         And of the 315,000 attachments,

  8 over 200,000 of them were the types of documents you would

  9 anticipate being attached to business-type e-mails, Word

 10 documents, Excels, PDFs, and power points.

 11            THE COURT:     All right.     Thank you.

 12            MR. COVE:     It appears that what he did was look at a

 13 subset based on one particular search term and came up with the

 14 one that --

 15            THE COURT:     I just took the first one on the list --

 16            MR. COVE:     Yeah.

 17            THE COURT:     -- as an illustration of his point.

 18            MR. COVE:     But in any event, I mean, we think this is

 19 the best way to proceed.         You know, this is -- the review

 20 process will be time consuming and expensive.             The status

 21 report, I'm sure you -- I know you've mentioned before are

 22 lengthy and, as you can imagine, are expensive and distracting

 23 to produce.    We think that if we are -- you know, go forward

 24 with these search terms, we continue to talk and to listen to

 25 what they have to say based on sampling and things like that,


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  1 that we can arrive at some reasonable place.              They will come

  2 back and say, We want it all again.          And we'll have to contend

  3 whether -- whether what we've done is reasonable and is enough,

  4 and we think we can do that.

  5            I mean, we're in a situation now where we haven't

  6 gotten a single document from the plaintiffs.              We asked them for

  7 at least the material that they had relied on in bringing the

  8 complaint before we had to answer the consolidated amended

  9 complaint.    We didn't get that.        So we're still waiting on

 10 anything from them after all this time.           We feel we've been

 11 working very, very hard.

 12            And that this is -- the way I've suggested is one way

 13 to go.    It will reduce the amount of lawyer time spent.                 It will

 14 get the process going fast, and it will have to be defended by

 15 us at the end of the day, so...

 16            THE COURT:     I am going to order the parties proceed

 17 with Zuffa's proposal with respect to 392 search terms, plus the

 18 additional 100,000 documents as part of, and, again, I emphasize

 19 this, an iterative process, a-test-and-see-how-well-it's-working

 20 basis.    I'm also going to order that Zuffa find and disclose and

 21 have the experts discuss the FTC search protocols to inform the

 22 process and to see if there are search terms that Zuffa

 23 internally decided -- you've told me and represented that Zuffa

 24 made the decision of how to respond to the FTC's inquiries and

 25 that means Zuffa gave this some thought.


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  1             MR. COVE:    Yeah, yeah.     Previous counsel certainly

  2 thought about it and tried to respond to the FTC as best they

  3 could.

  4             THE COURT:    I'm going to order you to proceed on that

  5 basis.     And, again, it's not with the expectation that that ends

  6 the inquiry, but that it's part of an iterative process.                  That

  7 the plaintiffs see what they get.          They see where the holes are,

  8 if they believe there are holes in which you're producing, and

  9 update the process as we go along to obtain -- and I fully

 10 appreciate their observation.          You proposed terms like

 11 "monopoly" and "monopsony" that except in lawyer's briefs or

 12 confidential communications between your top executives and the

 13 lawyers are not going to be found in the pick-and-shovel

 14 documents that establish a party's case or defense to that case.

 15             MR. COVE:    Your Honor, I agree with the latter part,

 16 but I really think it is a cheap shot in that every antitrust

 17 case I've -- every antitrust case I've been in, the plaintiffs

 18 and the defendants have always agreed on those terms,

 19 conspiracy, cartel in a cartel case.          So I feel -- the fact that

 20 we added them, those weren't the only terms.              We looked at --

 21             THE COURT:    I'm not taking a shot at you for that

 22 purpose.     I'm just telling you that, you know, everybody knows

 23 that people don't send e-mails to each other, Let's engage in a

 24 conspiracy to -- well, some -- actually people do do that.

 25 There have been some examples of that, but that's not usually


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  1 how sophisticated people act.

  2             MR. COVE:    Yes.

  3             THE COURT:    And so I appreciate their need to obtain

  4 not just the sanitized version of what your top people discuss

  5 with your lawyers and experts, but the down-and-dirty part of

  6 what it is.    And I don't mean that in a derogatory fashion, just

  7 colloquially what people do in real life every day and how they

  8 talk behind closed doors and how they communicate behind closed

  9 doors and how that may inform a relevant and admissible

 10 evidence.

 11             MR. COVE:    Thank you, Your Honor.

 12             THE COURT:    Okay.

 13             MR. DELL'ANGELO:      Your Honor?

 14             THE COURT:    Yes, Mr. Dell'Angelo.

 15             MR. DELL'ANGELO:      May I be heard for just a moment?

 16             THE COURT:    You may.

 17             MR. DELL'ANGELO:      Thank you.

 18             I'll be very brief.      I just --

 19             THE COURT:    Famous last words.

 20             MR. DELL'ANGELO:      No, I will do my best.         Just one

 21 observation and one request.         Just one observation about the FTC

 22 production that I would like to kind of make clear to the Court,

 23 to the extent that it's not, because it is -- has become --

 24             THE COURT:    I know it's not the be all and end all.

 25             MR. DELL'ANGELO:      Okay.


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  1            MR. DELL'ANGELO:      It --

  2            THE COURT:     I understand that.

  3            MR. DELL'ANGELO:      But just it was a -- a subset of

  4 what's going on here.       You know, it only encompasses a small

  5 subset of the allegations in this case, and it didn't -- there's

  6 some overlap with the custodians, but then there are a lot of

  7 custodians as we understand it from the metadata were involved

  8 in the FTC production that are not custodians here.               So it -- I

  9 think it is a useful guide.        I'm not sure it is a proxy, but --

 10            THE COURT:     No, and nothing I have said should be

 11 construed as that.

 12            MR. DELL'ANGELO:      Thank you.

 13            THE COURT:     What I'm trying to do is get the parties

 14 started in a meaningful way at some targeted discovery and take

 15 it a step at a time to see what you get and where you think it's

 16 either responsive or not, where you think it's lacking or not,

 17 because you haven't reviewed anything so far, particularly -- I

 18 mean, you've reviewed a limited universe of materials, and you

 19 are speculating on what you might get based upon proposals that

 20 both sides acknowledge is an imperfect process.

 21            MR. DELL'ANGELO:      Well, there's actually an important

 22 distinction there.       I don't think that we're -- in fact, I know

 23 we're not really speculating at all.          I mean, we're making

 24 substantive analyses based on the FTC production, the 1,500

 25 documents that we got from the document set at issue that were


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  1 non-hits and the 800 that were hits.

  2            Where I think you're saying is speculation and, you

  3 know, the papers are rift with it, is from Zuffa telling you

  4 that, you know, documents that use our terms will be of minimal

  5 relevance or not likely to be responsive.            That actually hasn't

  6 been tested, which is I think gets to the two requests that I'd

  7 like to make.     One is just technical.

  8            The samples that we've been provided thus far have been

  9 non-searchable PDFs.

 10            THE COURT:     And your expert tells you he was chagrinned

 11 to find that out, which means to me that you didn't talk about

 12 that before you got it in that format.

 13            MR. DELL'ANGELO:      It is by far nonstandard.         All of

 14 that said --

 15            THE COURT:     Mr. Cove, can you answer that question?

 16 Why it is that those samples were provided in PDF non-searchable

 17 format?    Because that doesn't make sense to me either.

 18            MR. COVE:     Yeah, I mean, these were done in a very

 19 abbreviated period of time.        We never discussed it with the

 20 plaintiffs.    We're certainly glad to give them -- I mean, we

 21 made the offer on Tuesday of the 800 documents.              They got back

 22 to us on Thursday.

 23            THE COURT:     Didn't you have to change the format to

 24 give it to them in PDF instead of giving it to them in native?

 25            MR. COVE:     I don't know the answer to that question.


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  1             THE COURT:    Usually it's more work to convert it to PDF

  2 than it is -- I mean, that's my understanding.              Again, I am

  3 not --

  4             MR. COVE:    That's a level of detail that I did not

  5 focus on.     They hadn't asked it and it didn't occur to me until

  6 this came up, but we can certainly provide it --

  7             THE COURT:    The whole reason for them to test it is to

  8 be able to do their own magic with --

  9             MR. COVE:    No, I understand that.

 10             THE COURT:    If they have to pull it up file by file,

 11 then that's not particularly helpful and it doesn't move the

 12 process.

 13             MR. COVE:    I mean, I'm happy to provide them --

 14             THE COURT:    I would think so.

 15             MR. COVE:    -- in whatever our agreed-upon format is.

 16 I'm sorry.     I can't answer your question.

 17             THE COURT:    That's one of the reasons I do these status

 18 conferences is to, you know, keep you on your feet and make you

 19 think about these things instead of having to do it in formal

 20 motion practice after months have gone by.

 21             MR. COVE:    Understood, Your Honor.

 22             MR. DELL'ANGELO:     Thank you, Your Honor.         And just the

 23 last issue is, I do think, and again Mr. Kellner can address

 24 this, but as we get -- as we continue down this process, I would

 25 like to propose, to the extent that your direction here does not


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  1 explicitly encompass this, that we have the opportunity to do at

  2 least two things.        One is to continue to sample the non-hits, if

  3 you will, from these undisputed terms and that we get from Zuffa

  4 a more robust explication or -- of what it is in the documents

  5 that is not responsive.        We've gotten -- part of what has gotten

  6 us here is we've gotten a very limited window from them about

  7 what it is that's not responsive, plane reservations, hotel

  8 reservations, loading bays, you know, for venues, but it's so

  9 limited.     It has really made it sincerely very difficult for us

 10 to figure out --

 11             THE COURT:     Right, but I understand their perspective,

 12 too, which is you're talking about our entire business.                    We

 13 could spend more time telling you what we do and why all of this

 14 isn't responsive than -- and you're never going to be satisfied.

 15             MR. DELL'ANGELO:     I think they need to spend some time

 16 doing it, and that's all that we're asking.               It doesn't need to

 17 be protracted, but these requests were served in April of last

 18 year.

 19             THE COURT:     And what about your responses to their

 20 requests?     Let's move to that now.

 21             MR. DELL'ANGELO:     In what respect, Your Honor?

 22             THE COURT:     They tell me you haven't given them a

 23 single document.     Is that true?

 24             MR. DELL'ANGELO:     So if you recall at the last status

 25 conference, there were a number of open issues which the Court


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  1 resolved, including time frame so -- for example.                 So all of

  2 those documents have long since been collected.                Once the --

  3            THE COURT:     Collected and produced is different.              Now

  4 you're reviewing them and it's taking you some time, isn't it?

  5            MR. DELL'ANGELO:      I understand that, Your Honor, but

  6 you could load them.       But you actually can't start processing

  7 them until we know what date range we're dealing with.

  8            THE COURT:     So what's the time frame for you getting

  9 them something?

 10            MR. DELL'ANGELO:      They're all being loaded now, and as

 11 I understand it, the loading should be completed within a week.

 12 We have reviewers and a protocol in place.                And we're doing a

 13 linear review of every document.          We're not proposing to apply

 14 search terms and that sort -- way Zuffa has.                And we will move

 15 those as expeditiously as possible and produce them on a rolling

 16 basis.

 17            THE COURT:     That's nice and vague, but it doesn't tell

 18 me what schedule you have for production.

 19            MR. DELL'ANGELO:      I don't have a schedule for

 20 production for you, Your Honor.          I mean, what I can tell you is

 21 as expeditiously as we can get them reviewed.                I mean, I think

 22 I've been pretty clear about where they are in the process.

 23 They're about done being loaded, within a matter of days.                   There

 24 are a group of people who are prepared to start reviewing those

 25 and who will be dedicated to reviewing them and producing them


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  1 on a rolling basis.       So --

  2            THE COURT:     Your feet are going to be put to the fire

  3 as well as Zuffa's in terms of meeting your discovery

  4 obligations.     They have produced about 984,000 pages so far.

  5            MR. DELL'ANGELO:       So -- and I'm perfectly comfortable

  6 with that, Your Honor, but I would also say that there's I think

  7 at least six months between the time that our requests were

  8 served versus theirs.       And what has been produced to us is

  9 largely the FTC production which would have been produced in

 10 2000 --

 11            THE COURT:     Correct.    And you've got fighter files now,

 12 right?

 13            MR. DELL'ANGELO:       And we have some fighter files.

 14 That's correct.     So...

 15            THE COURT:     Well, you've got 160,000 pages and you got

 16 103,000 pages from fighter files, hard copy files, and total

 17 documents produced to date by Zuffa is 984,000, right?

 18            MR. DELL'ANGELO:       Right.    A substantial portion of

 19 which is the FTC production, and largely the balance are the

 20 fighter files which, you know, we -- I think we ruled on several

 21 months ago.

 22            THE COURT:     Correct.    And aren't those the items that

 23 you prioritized?

 24            MR. DELL'ANGELO:       It is.    And one of the reasons we did

 25 is because what we understood is that they would be easy to


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  1 produce and they'd be produced quickly.

  2            THE COURT:     And you both have a different view of what

  3 "quickly" means.

  4            MR. DELL'ANGELO:       I don't think it's something that we

  5 need to argue about here.

  6            THE COURT:     That's true.    I'm just telling you --

  7            MR. DELL'ANGELO:       I'm not suggesting that you do,

  8 but --

  9            THE COURT:     -- I'm going to be asking you every week or

 10 every status reporting period what you've done and where you are

 11 and why you can't do it faster.

 12            MR. DELL'ANGELO:       I'm perfectly comfortable with that,

 13 Your Honor.

 14            THE COURT:     Okay.    I'm just giving you a heads-up.

 15            MR. DELL'ANGELO:       Thank you.

 16            THE COURT:     All right, counsel, at least we have a plan

 17 of proceeding.     I'll set this for a further status and dispute

 18 resolution conference in approximately 30 days, unless either

 19 side feels that the time and effort of preparing and coming here

 20 could be better spent actually doing what I just told you to do.

 21            MR. COVE:     We are in the latter category, Your Honor.

 22            THE COURT:     And, Mr. Dell'Angelo, would you rather

 23 spend the effort working on your production and reviewing what

 24 you got than seeing me every 30 days?

 25            MR. DELL'ANGELO:       I think we are --


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  1             THE COURT:    As much as you love being here, I know.

  2             MR. DELL'ANGELO:      I do.

  3             THE COURT:    Okay.    Let's do -- let's set this for a

  4 60-day status check to allow you to make some significant

  5 progress, and I do expect you to make significant progress so

  6 you're not side-tracked in coming here and using time that you

  7 could be using to produce.

  8             Mr. Miller, can you give us a date about 60 days out?

  9 And feel free to get out your respective calendars and so forth,

 10 devices, and make sure that the appropriate people can be here.

 11             COURTROOM ADMINISTRATOR:        Your Honor, we will set this

 12 matter for status check on Tuesday, April the 26th, 2016, at

 13 1:45 p.m. in this courtroom.

 14             THE COURT:    All right.      Now let's just be at ease for a

 15 minute while folks check their calendars and schedules and so

 16 forth.     Mr. Dell'Angelo, is that a problem?

 17             MR. DELL'ANGELO:      I think it may be.       My device is

 18 opening.

 19             THE COURT:    Sure.    Just go off the record for a minute

 20 and let everybody...

 21             MR. DELL'ANGELO:      Thank you.

 22             (Recess taken.)

 23             COURTROOM ADMINISTRATOR:        Your Honor, we are now back

 24 on the court record, resuming Le versus Zuffa.

 25             THE COURT:    All right.      We've been consulting calendars


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  1 off the record, and I think we settled on Monday, April 25th, at

  2 1:45 p.m. for a further status and dispute resolution conference

  3 in this matter.     And I'll see you back then, counsel.             Thank

  4 you.

  5            MR. COVE:     Thank you, Your Honor.

  6            (Whereupon proceedings concluded at 2:46:43 p.m.)

  7                                   --oOo--

  8          I, Patricia L. Ganci, court-approved transcriber, certify

  9 that the foregoing is a correct transcript transcribed from the

 10 official electronic sound recording of the proceedings in the

 11 above-entitled matter.

 12

 13           /s/ PATRICIA L. GANCI             FEBRUARY 29, 2016
                Patricia L. Ganci                     Date
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